      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 1 of 45



Laura H. King (MT Bar No. 13574)
Shiloh S. Hernandez (MT Bar No. 9970)
Western Environmental Law Center
103 Reeder’s Alley
Helena, Montana 59601
Ph: (406) 204-4852
Ph: (406) 204-4861
king@westernlaw.org
hernandez@westernlaw.org

Kyle Tisdel, pro hac vice (CO Bar No. 42098)
Western Environmental Law Center
208 Paseo del Pueblo Sur #602
Taos, New Mexico 87571
Ph: (575) 613-8050
tisdel@westernlaw.org

Counsel for Western Organization of Resource Councils,
Montana Environmental Information Center, Powder River
Basin Resource Council, and Northern Plains Resource Council

Nathaniel Shoaff, pro hac vice (CA Bar No. 256641)
Sierra Club
2101 Webster Street, Suite 1300
Oakland, CA 94612
Ph: (415) 977-5610
nathaniel.shoaff@sierraclub.org

Counsel for Sierra Club

Sharon Buccino, pro hac vice (DC Bar No. 432073)
Alison L. Kelly, pro hac vice (DC Bar No. 1003510)
Natural Resources Defense Council
1152 15th Street, NW, Suite 300
Washington, D.C. 20005
Ph: (202) 289-6868
sbuccino@nrdc.org
akelly@nrdc.org

Counsel for Natural Resources Defense Council
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 2 of 45




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

WESTERN ORGANIZATION OF                        Case No. CV-16-21-GF-
RESOURCE COUNCILS, MONTANA                     BMM
ENVIRONMENTAL INFORMATION
CENTER, POWDER RIVER BASIN
RESOURCE COUNCIL, NORTHERN
PLAINS RESOURCE COUNCIL, SIERRA
CLUB, and NATURAL RESOURCES
DEFENSE COUNCIL,

                 Plaintiffs,
                                              MEMORANDUM IN
vs.                                           SUPPORT OF
                                              PLAINTIFFS’ MOTION
U.S. BUREAU OF LAND                           FOR SUMMARY
MANAGEMENT, an agency within the              JUDGMENT
U.S. Department of the Interior; RYAN
ZINKE, in his official capacity as
Secretary of the U.S. Department of the
Interior, MICHAEL NEDD, in his official
capacity as Acting Director of the Bureau
of Land Management; and KATHARINE
MACGREGOR, in her official capacity as
Acting Assistant Secretary of Land and
Minerals Management of the U.S.
Department of the Interior,

                 Defendants.




                                                                         i
         Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 3 of 45



                                       TABLE OF CONTENTS

I.    INTRODUCTION ..............................................................................................1
II.   LEGAL BACKGROUND .................................................................................2
         A. National Environmental Policy Act .........................................................2
      B. BLM’s Planning and Management Framework ......................................3
III. STANDARD OF REVIEW ...............................................................................4
IV. STANDING........................................................................................................5
V. ARGUMENT .....................................................................................................7
         A. BLM Failed to Consider a Reasonable Range of Alternatives................7
                  1.    BLM’s Coal Alternatives Were Nearly Identical and Unlawful ...8
                  2.    BLM Failed to Consider Alternatives That Would Require
                        Measures To Reduce Methane Emissions from Oil and Gas
                        Drilling.........................................................................................13
         B.    BLM Failed to Take a Hard Look at Greenhouse Gas Pollution and
               Climate Change ......................................................................................16
                  1.    BLM Failed to Address the Foreseeable Indirect Effects of
                        Consuming Fossil Fuels Extracted Under the Plans ...................16
                  2.    BLM Failed to Take a Hard Look at Cumulative Climate Impacts
                        of BLM’s Fossil Fuel Management.............................................21
                3. BLM Understated the Impacts of Methane Emissions................27
         C.    BLM Failed to Consider Cumulative Impacts on Air Quality. .............32




                                                                                                                        ii
        Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 4 of 45



                                        TABLE OF AUTHORITIES

Cases

Blue Mountains Biodiversity Project v. Blackwood, 161 F.3d 1208 (9th Cir. 1998)

  ...............................................................................................................................22

California v. Block, 690 F.2d 753 (9th Cir. 1982) .................................................7, 9

Citizens of Overton Park v. Volpe, 401 U.S. 402 (1971)...........................................4

Ctr. for Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d

  1172 (9th Cir. 2008)....................................................................................... 23, 26

Ctr. for Biological Diversity, 746 F. Supp. 2d 1055 (N.D.Cal 2009) .......................9

Friends of Yosemite Valley v. Kempthorne, 520 F.3d 1024 (9th Cir. 2008) .........7, 9

Hall v. Norton, 266 F.3d 969 (9th Cir. 2001). .........................................................22

High Country Conserv. Advocates v. U.S. Forest Serv., 52 F.Supp.3d. 1174 (D.

  Colo. 2014) .............................................................................................. 17, 19, 26

Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S. 333 (1977) ............................5

Ilio’ulaokalani Coal. v. Rumsfeld, 464 F.3d 1083 (9th Cir. 2006) ............................8

Kern v. BLM, 284 F.3d 1062 (9th Cir. 2002).............................................. 12, 21, 22

League of Wilderness Defenders v. Forest Service, 549 F.3d 1211 (9th Cir. 2008) .4

Mid States Coal. for Progress v. Surface Transp. Bd., 345 F.3d 520 (8th Cir. 2003)

  ...............................................................................................................................17

Muckleshoot Indian Tribe v. USFS, 177 F.3d 800 (9th Cir. 1999) ................ 7, 9, 24


                                                                                                                               iii
         Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 5 of 45



N. Alaska Envtl. Ctr. v. Kempthorne, 457 F.3d 969 (9th Cir. 2006) .......................21

N.M. ex rel. Richardson v. BLM, 565 F.3d 683 (10th Cir. 2009) ................. 9, 10, 14

NRDC v. USFS, 421 F.3d 797 (9th Cir. 2005)...........................................................9

Nw. Res. Info. Ctr., Inc. v. Nat’l Marine Fisheries Serv., 56 F.3d 1060 (9th Cir.

  1995) .....................................................................................................................13

Oregon Nat. Desert Ass’n v. Jewell, 840 F.3d 562 (9th Cir. 2016).........................28

Oregon Natural Desert Ass’n v. BLM (ONDA), 625 F.3d 1092 (9th Cir. 2008) 7, 9,

  27

Robertson v. Methow Valley Citizens Council, 490 U.S. 332 (1989)........................2

Sierra Forest Legacy v. Rey, 577 F.3d 1015 (9th Cir. 2009) ........................... 11, 13

W. Watersheds Project v. Abbey, 719 F.3d 1035 (S.D. Cal. 2017) .........................11

Westlands Water Dist. v. U.S. Dep’t of Interior, 376 F.3d 853 (9th Cir. 2004) ......10

WildEarth Guardians v. Jewell, 738 F.3d 298 (D.C. Cir. 2013) ...........................6, 7

WildEarth Guardians v. U.S. Dep’t of Agric., 795 F.3d 1148 (9th Cir. 2015) .....5, 6

Statutes

30 U.S.C. § 187 ........................................................................................................15

30 U.S.C. § 225 ........................................................................................................15

42 U.S.C. § 4332(2)(C) ..........................................................................................2, 3

42 U.S.C. § 4332(2)(E) ..............................................................................................3

43 U.S.C. § 1702(c) .................................................................................................10


                                                                                                                            iv
         Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 6 of 45



43 U.S.C. § 1712 (c) (1)-(9). ......................................................................................3

43 U.S.C. § 1732(a) ...................................................................................................3

43 U.S.C. § 1732(d)(2)(A) .........................................................................................4

5 U.S.C. § 706 ............................................................................................................4

Other Authorities

46 Fed. Reg. 18026 (Mar. 17, 1981) ..........................................................................9

78 Fed. Reg. 71,904 (Nov. 29, 2013).......................................................................29

81 Fed. Reg. 83008 (Nov. 18, 2016)........................................................................15

IPCC, Contribution of Working Group I to the Fifth Assessment Report: The

  Physical Science Basis, (Sept. 2013) ....................................................................31

U.N. Framework Convention on Climate Change, Conference of the Parties,

  Adoption of the Paris Agreement, Art. 2, U.N. Doc. FCCC/CP/2015/L.9 (Dec.

  12, 2015) ...............................................................................................................25

Rules

Fed. R. Civ. P. 56(a)...................................................................................................4

Regulations

40 C.F.R. § 1500.1(b) ....................................................................................... 28, 29

40 C.F.R. § 1501.2 ...................................................................................................20

40 C.F.R. § 1502.14 ...............................................................................................3, 7

40 C.F.R. § 1502.16 .............................................................................................2, 26

                                                                                                                           v
         Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 7 of 45



40 C.F.R. § 1502.24 .................................................................................................28

40 C.F.R. § 1508.25 .................................................................................................21

40 C.F.R. § 1508.27 .................................................................................... 22, 23, 30

40 C.F.R. § 1508.7 ........................................................................................ 2, 21, 22

40 C.F.R. § 1508.8 ........................................................................................ 2, 17, 26

43 C.F.R. § 1601.0-6 ..................................................................................................4

43 C.F.R. § 3420.1-4 ......................................................................................... 10, 12

43 C.F.R. §§ 1600 et seq ............................................................................................3




                                                                                                                     vi
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 8 of 45



                               EXHIBIT INDEX

Exhibit 1: Government Accountability Office, Federal Oil & Gas Leases:
Opportunities Exist to Capture Vented and Flared Natural Gas, Which Would
Increase Royalty Payments and Reduce Greenhouse Gases, GAO-11-34 (October
2010)

Exhibit 2: BLM, Uncompahgre Field Office, Draft Resource Management Plan
and Environmental Impact Statement at 4-42, T. 4-11 (May 2016)

Exhibit 3: U.N. Framework Convention on Climate Change, Conference of the
Parties, Adoption of the Paris Agreement, Art. 2, U.N. Doc. FCCC/CP/2015/L.9
(Dec. 12, 2015)

Exhibit 4: Intergovernmental Panel on Climate Change, Contribution of Working
Group I to the Fifth Assessment Report: The Physical Science Basis, at 714 (Table
8.7)




                                                                               vii
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 9 of 45



                        GLOSSARY OF TERMS

APA                   Administrative Procedure Act
BLM                   Bureau of Land Management
CEQ                   Council on Environmental Quality
CO2                   Carbon Dioxide
CO2e                  Carbon Dioxide Equivalent
Conservation Groups   Western Organization of Resource Councils,
                      Montana Environmental Information Center,
                      Powder River Basin Resource Council, Sierra Club, and
                      Natural Resources Defense Council
EIS                   Environmental Impact Statement
EPA                   Environmental Protection Agency
FLPMA                 Federal Land Policy and Management Act
GHG                   Greenhouse Gas
GtCO2e                Gigatons of Carbon Dioxide Equivalent
GWP                   Global Warming Potential
IPCC                  Intergovernmental Panel on Climate Change
NEPA                  National Environmental Policy Act
RMP                   Resource Management Plan




                                                                         viii
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 10 of 45




I.    INTRODUCTION

      The Bureau of Land Management’s (“BLM”) Miles City and Buffalo Field

Offices comprise the northern and southern portions of a region known as the

Powder River Basin, an area of stark beauty with rolling grasslands, badlands,

and remote wilderness. SOF ¶2. The Basin stretches for more than 14 million

acres from Wyoming’s Bighorn Mountains, and the headwaters of the Tongue

and Powder Rivers, north to the Yellowstone River in eastern Montana. Id. The

Basin provides premier habitat for elk, mule deer, and pronghorn antelope, as

well as threatened greater sage-grouse. Id.

      The Powder River Basin is also one of our nation’s most prolific energy

producing regions, accounting for nearly 40% of all domestic coal production.

SOF ¶3. BLM expects that over 20 years industry will mine approximately 11

billion tons of coal from the Miles City and Buffalo planning areas. SOF ¶17. The

Basin also produces significant amounts of natural gas and oil. SOF ¶3.

      Pursuant to the Federal Land Policy and Management Act (“FLPMA”),

BLM must periodically complete a Resource Management Plan (“plan”) to

balance competing uses and guide how public lands will be managed for decades

to come. In developing these plans, the National Environmental Policy Act

(“NEPA”) requires BLM to prepare an environmental impact statement (“EIS”)



                                                                                    1
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 11 of 45



that considers a broad range of alternatives and takes a hard look at the

environmental impacts of each alternative. Here, BLM violated this mandate.

      In revising the Miles City and Buffalo Plans, BLM failed to consider any

alternatives that would reduce the amount of coal available for leasing or require

cost-effective measures to reduce methane emissions from oil and gas

development. BLM further failed to take the hard look NEPA requires at the

direct, indirect, and cumulative impacts of the fossil fuel development expected to

occur under the plans. Federal Defendants’ (collectively “BLM”) approval of the

Buffalo and Miles City plans was therefore arbitrary and capricious.

II.   LEGAL BACKGROUND

      A.     National Environmental Policy Act

      NEPA requires that all federal agencies prepare a “detailed statement”

regarding all “major federal actions significantly affecting the quality of the

human environment.” 42 U.S.C. § 4332(2)(C). This statement, known as an EIS,

must, among other things, describe the “environmental impact of the proposed

action,” and evaluate alternatives to the proposal. Id. In an EIS, federal agencies

must take a “hard look” at environmental impacts. Robertson v. Methow Valley

Citizens Council, 490 U.S. 332, 350 (1989). This hard look must extend beyond

the direct impact of proposed action, to consider “indirect” and “cumulative”

effects as well. 40 C.F.R. §§ 1502.16, 1508.7, 1508.8.


                                                                                      2
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 12 of 45



      The agency must also evaluate reasonable alternatives to recommended

courses of action, particularly where there are “unresolved conflicts concerning

alternative uses of available resources.” 42 U.S.C. § 4332(2)(E). Alternatives are

the “heart” of the NEPA process, ensuring that agencies “sharply defin[e] the

issues and provid[e] a clear basis for choice among options by the decisionmaker

and the public.” 40 C.F.R. § 1502.14.

      B.     BLM’s Planning and Management Framework

      BLM develops resource management plans in accordance with FLPMA,

NEPA, and associated planning regulations, 43 C.F.R. §§ 1600 et seq., with

additional guidance from BLM’s Land Use Planning Handbook (H-1601-1). The

plans establish administrative priorities for all multiple use values, aiming to

balance, guide, and constrain BLM’s management of these activities throughout

the planning area. 43 U.S.C. § 1712 (c) (1)-(9). Plans operate on a broad-scale,

and establish parameters for future management actions and subsequent site-

specific implementation decisions. WO:4912-75966.1 BLM must balance the use

of public lands and minerals through its multiple use mandate, 43 U.S.C. §

1732(a), to prevent unnecessary or undue degradation, id. § 1732(b), and to


1
 Citations to the record are provided in the following format: [Record Folder
Name]:[Record Document Number]-[Record Bates Number]. MC stands for
“Miles City,” BUF stands for “Buffalo,” RMR stands for “Rocky Mountain
Region,” and WO stands for “Washington Office.” Citations to the Statement of
Undisputed Facts are provided as “SOF ¶___.”

                                                                                     3
       Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 13 of 45



minimize adverse impacts on the natural, environmental, scientific, cultural, and

other values of public lands. Id. § 1732(d)(2)(A) Development of a plan’s

parameters is informed by the EIS’s “hard look” at the direct, indirect, and

cumulative impacts of various alternatives. 43 C.F.R. § 1601.0-6 (requiring

development of an EIS when preparing a resource management plan).

III.   STANDARD OF REVIEW

       A party is entitled to summary judgment if “there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). Agency compliance with NEPA is reviewed pursuant to the

Administrative Procedure Act (“APA”), which provides that a court “shall hold

unlawful and set aside agency action, findings, and conclusions found to be

arbitrary and capricious, an abuse of discretion, or otherwise not in accordance

with law.” 5 U.S.C. § 706(2)(A). While the standard of review is deferential,

courts must nonetheless engage in a “thorough, probing, in depth review” of the

agency action. Citizens of Overton Park v. Volpe, 401 U.S. 402, 415 (1971).

Courts must set aside agency decisions if the agency “failed to consider an

important aspect of the problem,” or if the agency’s explanations run counter to

evidence in the record. League of Wilderness Defenders v. Forest Service, 549

F.3d 1211, 1215 (9th Cir. 2008) (citation omitted).




                                                                                    4
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 14 of 45



IV.   STANDING

      Conservation Groups have standing to bring this action on behalf of their

adversely affected members, Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S.

333, 343 (1977), because each organization has at least one member that has

demonstrated an injury that is both “traceable” to the challenged action and likely

to be redressed by a favorable decision. WildEarth Guardians v. U.S. Dep’t of

Agric., 795 F.3d 1148, 1154 (9th Cir. 2015). “Environmental plaintiffs adequately

allege injury in fact when they aver that they use the affected area and are persons

for whom the aesthetic and recreational values of the area will be lessened by the

challenged activity.” Id.

      Conservation Groups’ members live, work, and recreate in areas where

fossil fuel development will be allowed under the Buffalo and Miles City plans.

Anderson Decl. ¶¶ 2, 6-8; Byron ¶¶ 4-8; Cushman ¶¶ 3-7; Punt ¶¶ 3-7, Sikorski ¶¶

4-7, 17. The members identify specific areas they use that the plans leave open to

coal, oil, and gas development, including split estate minerals underneath

members’ property (Punt ¶ 4), lands nearby and visible from members’ property

(Punt ¶¶ 4-6; Sikorski ¶¶ 6-7), and public lands and waters used for recreation,

including Thunder Basin National Grassland, Fortification Creek, Bighorn

Mountains (Anderson ¶¶ 6-8), Zook Mountain Wilderness Study Area (Punt ¶ 2),

the Yellowstone and Tongue rivers (Byron ¶ 4; Cushman ¶¶ 4-5), and the Lewis


                                                                                       5
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 15 of 45



and Clark Trail (Byron ¶ 4; Cushman ¶ 4). Fossil fuel development permitted

under the Plans would impact members’ interests in hunting (Punt ¶ 7), ranching

(Punt ¶ 4), rafting (Cushman ¶4), cycling (Byron ¶ 4), and experiencing nature

(Anderson ¶¶ 5, 6, 8; Cushman ¶¶ 6, 8; Sikorski ¶ 8).

      Development of these areas depends, in part, on BLM’s decisions

challenged here. If BLM limited the areas open to fossil fuel development, or

placed restrictions on those operations in ways that, for example, reduced air

emissions and water discharges, it would reduce the injuries to Conservation

Groups’ members. Punt ¶¶ 4, 7; Sikorski ¶ 8; Byron ¶ 10; Cushman ¶ 10; Anderson

¶ 13. Because Conservation Groups allege procedural injury—violation of

NEPA—a showing that BLM’s decision could affect their concrete injury is

sufficient. WildEarth Guardians, 795 F.3d at 1154.

      It is well settled that plaintiffs may challenge an agency’s climate analysis

under NEPA by relying on aesthetic, non-climate injuries caused by the agency

action. WildEarth Guardians v. Jewell, 738 F.3d 298, 306-307 (D.C. Cir. 2013);

accord MEIC v. BLM, 615 F. App’x 431, 432-33 (9th Cir. 2015). Here,

Conservation Groups’ aesthetic and recreational injuries “follow[] from [the]

inadequate FEIS whether or not the inadequacy concerns the same environmental

issue that causes their injury.” WildEarth Guardians, 738 F.3d at 307. A decision

overturning BLM’s Buffalo and Miles City plans—on any grounds—would redress


                                                                                      6
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 16 of 45



these injuries “regardless whether the FEIS’s specific flaw relates to local or global

environmental impacts.” Id.

V.    ARGUMENT

      A.     BLM Failed to Consider a Reasonable Range of Alternatives

      In approving the Miles City and Buffalo plans, BLM violated NEPA by

refusing to consider any alternative that would have limited coal development, as

well as by failing to consider reasonable alternatives with respect to oil and gas

development.

      The “heart of the environmental impact statement” is a rigorous exploration

of alternatives to the proposed action. 40 C.F.R. § 1502.14. BLM must “provide a

full and fair discussion of significant environmental impacts” in order to “inform

decisionmakers and the public of the reasonable alternative which would avoid or

minimize adverse impacts.” Id. §§ 1502.1, 1502.14; accord California v. Block,

690 F.2d 753, 767 (9th Cir. 1982). It is insufficient for an EIS to only consider

alternatives that “are essentially identical.” Friends of Yosemite Valley v.

Kempthorne, 520 F.3d 1024, 1039 (9th Cir. 2008).2 “The existence of reasonable




2
 Oregon Natural Desert Ass’n v. BLM (ONDA), 625 F.3d 1092, 1123-24 (9th Cir.
2008) (agency failed to consider alternatives “closing more than a fraction of the
planning area to [off highway vehicle] use”); Muckleshoot Indian Tribe v. USFS,
177 F.3d 800, 813 (9th Cir. 1999) (rejecting “virtually identical alternatives”).


                                                                                     7
       Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 17 of 45



but unexamined alternatives renders an EIS inadequate.” ‘Ilio‘ulaokalani Coal. v.

Rumsfeld, 464 F.3d 1083, 1095 (9th Cir. 2006).

              1.   BLM’s Coal Alternatives Were Nearly Identical and
                   Unlawful

        The Miles City and Buffalo EISs failed to consider any meaningfully

different alternatives with respect to coal. In each EIS, the coal management

“alternatives” considered were identical to one another, carrying forward outdated

management provisions that made vast amounts of coal available for leasing.

Under all alternatives, BLM anticipated identical amounts of coal production, acres

disturbed by coal mining, and coal leases to be issued.

        Miles City considered the following coal alternatives:

                           Miles City Coal Alternatives
                      Acres            Tons            Expected          Acres
                   Available for    Available for     Production       Disturbed
                     Leasing          Leasing           (tons)
Alternative A       1.6 million       71 billion      926 million       13,000
Alternative B       1.6 million       71 billion      926 million       13,000
Alternative C       1.6 million       71 billion      926 million       13,000
Alternative D       1.6 million       71 billion      926 million       13,000
Alternative E       1.6 million       71 billion      926 million       13,000 3




3
    SOF ¶¶23-24.

                                                                                    8
        Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 18 of 45



         Buffalo considered the following identical alternatives:

                               Buffalo Coal Alternatives
                        Acres           Tons             Expected      Coal Leases
                     Available for   Available for      Production       Issued
                       Leasing         Leasing            (tons)
    Alternative A      503,600        41 billion       10.2 billion        28
    Alternative B      503,600        41 billion       10.2 billion        28
    Alternative C      503,600        41 billion       10.2 billion        28
    Alternative D      503,600        41 billion       10.2 billion        28 4

         Courts have repeatedly held that in developing land management plans,

agencies must consider a range of alternatives that would protect varying amounts

of land from environmentally damaging activity. 5 BLM’s complete failure to

consider any such variation, in either EIS, in planning for coal mining was

arbitrary and unlawful. See, e.g., Muckleshoot Indian Tribe, 177 F.3d at 813.


4
  SOF ¶¶27, 29.
5
  See, e.g., Friends of Yosemite, 520 F.3d at 1039 (EIS for management plan should
have included alternatives that reduced user levels on river); ONDA, 625 F.3d at
1123-24 (agency should have considered alternatives that closed more than 0.77%
of planning area to ORV use); NRDC v. USFS, 421 F.3d 797, 814 (9th Cir. 2005)
(agency should have considered alternatives that allocated less than 50% of
roadless areas in planning area to land use designations allowing development);
Block, 690 F.2d at 768-69 (agency should have considered alternative allocating
more than one-third of roadless areas to wilderness management); Ctr. for
Biological Diversity, 746 F. Supp. 2d 1055, 1087-89 (N.D.Cal 2009) (agency
should have considered alternatives that closed some portion of existing road
network in planning area); accord N.M. ex rel. Richardson v. BLM, 565 F.3d 683,
709-11 (10th Cir. 2009) (EIS for management plan should have considered
alternative closing planning area to future oil and gas leasing); see also Council on
Environmental Quality (“CEQ”), Forty Most Asked Questions Concerning CEQ’s
National Environmental Policy Act Regulations, 46 Fed. Reg. 18026, 18027 (Mar.
17, 1981) (explaining that “[a]n appropriate series of alternatives might include
dedicating 10, 30, 50, 70, 90, or 100 percent of the Forest to wilderness”).

                                                                                     9
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 19 of 45



      Alternatives that would have reduced acreage open to coal mining were

within BLM’s statutory authority and reasonable. “Where an action is taken

pursuant to a specific statute, the statutory objectives of the project serve as a guide

to determine the reasonableness of objectives outlined in an EIS.” Westlands Water

Dist. v. U.S. Dep’t of Interior, 376 F.3d 853, 866 (9th Cir. 2004). In managing

public lands, BLM must “take into account the long-term needs of future

generations for renewable and nonrenewable resources, including, but not limited

to, recreation, range, timber, minerals, watershed, wildlife and fish, and natural

scenic, scientific and historical values.” 43 U.S.C. § 1702(c). In planning for coal

specifically, BLM uses a “screening” process that allows BLM to “eliminate …

coal deposits from further consideration for leasing to protect other resource values

and land uses that are locally, regionally or nationally important.” 43 C.F.R.

§ 3420.1-4(e)(3). “It is past doubt that the principle of multiple use does not require

BLM to prioritize development over other uses.” New Mexico, 565 F.3d at 710.

      Here, the purpose of each plan revision was to develop a land use plan

based on multiple-use principles, SOF ¶¶7, 11, while also addressing conditions

that had changed since the previous plan revisions, SOF ¶¶8, 11. Notably, each

plan specifically identified the need to address the impacts of climate change and

reduce greenhouse gas (GHG) emissions. SOF ¶¶ 9-10, 11. Both EISs recognized

that “Secretarial Order 3289… establish[ed] a Department-wide, science-based


                                                                                     10
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 20 of 45



approach to increase understanding of climate change and to coordinate an

effective response to impacts on managed resources.” SOF ¶¶10-11. BLM’s

broad multiple-use mandate, and specific direction to respond to impacts of

climate change under Secretarial Order 3289, gave the agency the authority and

obligation to consider alternatives that would reduce coal-leasing. The agency’s

justifications for omitting such alternatives are arbitrary.

      For Miles City, BLM offered two justifications: (1) that it had previously

determined what acreage and amount of coal was suitable for leasing in its prior

management plans in 1985 and 1996; and (2) that it would consider alternatives

limiting development on an individual parcel in response to future lease requests.

SOF ¶25. Both arguments are unavailing.

      First, BLM cannot rely on a prior analysis that does not account for new

information. See Sierra Forest Legacy v. Rey, 577 F.3d 1015, 1021 (9th Cir. 2009)

(“[W]here changed circumstances affect the factors relevant to the development

and evaluation of alternatives, USFS must account for such change in the

alternatives it considers.”); W. Watersheds Project v. Abbey, 719 F.3d 1035, 1052

(S.D. Cal. 2017) (prior decades-old alternatives analysis insufficient). BLM admits

that the prior coal analyses from the 1985 and 1996 management plans did not

recognize or address climate change, which BLM acknowledges affects nearly all

resources in the planning area. SOF ¶9. Thus, BLM’s stale, decades old


                                                                                   11
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 21 of 45



assessments of coal resources do not excuse the agency’s complete failure to assess

a reasonable range of coal alternatives in its 2015 EIS.

      Second, BLM cannot defer consideration of alternatives to a parcel-by-

parcel basis at the coal leasing stage. By law, BLM is required to assess what

lands to make available for coal leasing at the land use planning stage. 43 C.F.R.

§ 3420.1-4 (e) (“The major land use planning decision concerning the coal

resource shall be the identification of areas acceptable for further consideration

for leasing…”). This assessment must also consider multiple-use interests. Id.

§ 3420.1-4(e)(3). A parcel-by-parcel approach violates NEPA by preventing

informed public discussion of landscape-level planning for coal development.

Kern v. BLM, 284 F.3d 1062, 1072 (9th Cir. 2002).

      For Buffalo, BLM took a different, but equally meritless tack, stating that

“[r]educing climate impacts and GHG emissions by limiting fossil fuel

development was not identified as an issue through the scoping process and in

development of the range of alternatives.” SOF ¶30. In fact, Conservation Groups’

scoping comments repeatedly asked BLM to reduce climate impacts by reducing

coal development:

      We encourage the BLM to seriously address the role coal has on
      climate change. CO2 from coal fired power plants is the leading
      contributor to the rise of greenhouse gases.… [O]pening up more coal
      resources to development will set us back in the fight against global
      climate change…. Sierra Club asks that the BLM not expand coal
      mining operations.

                                                                                     12
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 22 of 45




SOF ¶31. Over one-hundred individuals sent similar scoping comments requesting

BLM to “slow the pace of coal … development.” Id. Moreover, BLM’s failure to

evaluate any reduced coal alternative due to lack of public interest at the scoping

stage is legally mistaken. See, e.g, Nw. Res. Info. Ctr., Inc. v. Nat’l Marine

Fisheries Serv., 56 F.3d 1060, 1067 (9th Cir. 1995) (NEPA does not allow an

agency to limit its consideration of issues to those raised during the scoping

period).

      In a response to comments, Buffalo also mistakenly claimed that coal

“screening” from 2001, which did not consider climate impacts from coal, met its

duty to consider alternatives. SOF ¶32. Again, a prior analysis is insufficient in

changed circumstances. Sierra Forest Legacy, 577 F .3d at 1021; W. Watersheds,

719 F.3d at 1052.

             2.     BLM Failed to Consider Alternatives That Would Require
                    Measures To Reduce Methane Emissions from Oil and Gas
                    Drilling

      In approving both the Miles City and Buffalo plans, BLM violated NEPA

by failing to consider an alternative that would require measures to reduce

methane pollution from oil and gas development, such as frequent leak detection

requirements or low- or no-bleed pneumatic controllers.6 In comments,


6
 Use of frequent leak detection and repair and low- or no-bleed pneumatic
controllers alone would address the largest sources of methane emissions in the

                                                                                      13
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 23 of 45



Conservation Groups identified these and numerous other emission reduction

opportunities and their significant economic benefits. See SOF ¶¶33, 36. The U.S.

Environmental Protection Agency (“EPA”) similarly recommended that BLM

consider requiring methane mitigation. SOF ¶33. BLM’s refusal to consider an

alternative that would mandate any of these mitigation measures in the planning

areas was arbitrary.

      Requiring methane mitigation measures on oil and gas development is, like

limiting coal development, an alternative well within the scope and purpose of the

plans to reduce greenhouse gas emissions. SOF ¶¶8-11. Such an alternative is also

well within BLM’s resource management planning authority to determine not

only the areas open to fossil fuel development, but also “the conditions placed on

such development.” N.M. ex rel. Richardson v. BLM, 565 F.3d 683, 689 n.1

(citing 43 U.S.C. § 1712 (a)). Moreover, the agency’s multiple-use mandate, as

well as the directive under Secretarial Order 3289, supplied BLM not only with

the authority, but also the obligation to consider a methane mitigation alternative.

      BLM argued that it was not required to consider alternatives mandating

methane mitigation measures because (1) EPA regulations already limit methane

emissions, and (2) BLM plans encourage the use of voluntary methane mitigation

Buffalo planning area. BLM forecasted that, together, wellhead “fugitives” (leaks)
and pneumatic devices that “bleed” methane would account for over 95% of
emissions for natural gas wells and 92% of emissions for coalbed methane wells in
the Buffalo planning area in 2024. SOF ¶39.

                                                                                   14
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 24 of 45



measures. SOF ¶38. Both arguments are unsupported.

      First, BLM has an independent duty to address methane waste under

FLPMA, NEPA, and the Mineral Leasing Act. See 30 U.S.C. § 187 (requiring

lease provisions preventing undue waste), id. at § 225 (requiring lessee to prevent

waste). This responsibility includes addressing methane waste at the field office

level during the resource management planning process. See 81 Fed. Reg. 83008,

83040 (Nov. 18, 2016) (“BLM agrees that the land use planning and NEPA

processes are critical to achieving our simultaneous goals of responsible oil and

gas development, land stewardship and resource conservation, and protection of

air quality on (and reduction of air emissions from) Federal lands.”). Here, BLM

was required to consider imposing additional pollution controls for development

on federal lands; EPA regulations alone are not commensurate to the problem of

methane waste.7

      Second, BLM’s intent to encourage voluntary mitigation is not a substitute

for taking a hard look at the environmental benefit that would foreseeably result

from requiring, rather than merely requesting, additional specific methane

mitigation measures. Voluntary methane mitigation measures are often


7
 For example, the two mitigation measures identified above—frequent leak
detection and repair and low- or no-bleed pneumatic controllers—go beyond the
controls that EPA requires. EPA regulations do not apply to existing sources, do
not require no-bleed pneumatic controllers other than for compressor stations, and
only require intermittent leak detection and repair. SOF ¶34.

                                                                                    15
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 25 of 45



unsuccessful due to institutional inertia and skepticism. 8 It may be that, after

providing this comparison, BLM would have determined that mere

encouragement would suffice, but NEPA requires BLM to actually perform and

disclose this analysis.

      B.     BLM Failed to Take a Hard Look at Greenhouse Gas Pollution
             and Climate Change

      In the Miles City and Buffalo plans, BLM violated NEPA by discussing the

impact of the plans on climate change only by quantifying greenhouse gases

directly emitted from production of fossil fuel resources. By failing to even

acknowledge emissions that would foreseeably result from the use of fossil fuels

extracted pursuant to the plans, by failing to consider the cumulative impact of

BLM’s management of other areas, and by understating the impact of each ton of

foreseeable methane emissions, BLM improperly concealed the true climate effects

of its plans from both decisionmakers and the public.

             1.   BLM Failed To Address the Foreseeable Indirect Effects of
                  Consuming Fossil Fuels Extracted Under the Plans

      BLM violated NEPA by failing to analyze or estimate the greenhouse gas

emissions that will result from using fossil fuels extracted from the planning areas.

8
  See Government Accountability Office, Federal Oil & Gas Leases: Opportunities
Exist to Capture Vented and Flared Natural Gas, Which Would Increase Royalty
Payments and Reduce Greenhouse Gases, GAO-11-34 at 24 (October 2011),
available at http://www.gao.gov/assets/320/311826.pdf (Exhibit 1). The Court may
take judicial notice of this and other factual documents under Federal Rules of
Evidence 201(b)(2), (c).

                                                                                    16
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 26 of 45



All of the coal, oil, and gas developed under the plans will be transported,

processed, and used for foreseeable purposes, largely electricity generation. SOF

¶46; BUF:6-843. NEPA requires BLM to look beyond the direct effects of the

action at issue, to include consideration of “indirect” effects, which occur “later in

time or farther removed in distance, but are still reasonably foreseeable.” 40 C.F.R.

§ 1508.8(b). This specifically includes “growth inducing effects” and “related

effects on air and water and other natural systems.” Id. Here, the end use or

‘downstream’ uses of fossil fuels produced under BLM’s plans all emit foreseeable

amounts of greenhouse gases, which BLM must disclose and analyze. High

Country Conserv. Advocates v. U.S. Forest Serv., 52 F.Supp.3d. 1174, 1189-90 (D.

Colo. 2014) (where agency action will enable additional coal mining, NEPA

requires analysis of greenhouse gases emitted by additional coal use); Mid States

Coal. for Progress v. Surface Transp. Bd., 345 F.3d 520, 549-50 (8th Cir. 2003)

(where agency action will foreseeably increase coal consumption, NEPA requires

analysis of consumption emissions). The record demonstrates that BLM has the

information and tools needed for this analysis, and that these emissions vastly

exceed the greenhouse gas emissions disclosed in the EISs. For example, BLM

estimates that under the Buffalo plan, 10.2 billion tons of coal will be mined. SOF

¶13. BLM estimates that the process of mining this coal will emit 202 million tons




                                                                                    17
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 27 of 45



of carbon dioxide equivalent (“CO2e”). BUF:6-2096, -2098, -2101, -2103;9 see

infra page 27 (discussion of CO2e). But as Citizen Groups explained,

methodologies BLM has used elsewhere indicate that burning that coal would emit

16.9 billion tons of carbon dioxide—more than 80 times the amount of greenhouse

gas emissions BLM disclosed. SOF ¶51. BLM’s justifications for omitting this

analysis are legally and factually unsupported.

      In Miles City, BLM claimed that it lacked information needed to analyze

downstream use or combustion of fossil fuels extracted under the plan. BLM

asserted that “GHG emissions from activities outside the planning area were not

included because insufficient data exist to accurately quantify these emissions.”

SOF ¶44. BLM has not, however, offered any explanation as to what information

it would need, but that it does not have and cannot obtain, in order to perform this

analysis. Cf. 40 C.F.R. § 1502.22 . Moreover, the records for Miles City and

Buffalo demonstrate that, for both plans, the agency had ample information to

reasonably predict the amounts of greenhouse gases that will be emitted by use of

coal, oil, and gas extracted under the adopted plans.

      Most importantly, BLM has prepared “reasonably foreseeable development”

analyses for both planning areas, estimating the amount of coal, oil, and natural gas


9
 These four tables, one for each alternative, list annual CO2e for coal at
10,106,906 tons per year. 202 million tons was arrived at by multiplying 10.1
million tons per year by 20 years, the duration of the planning periods.

                                                                                    18
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 28 of 45



likely to be extracted during the planning periods. SOF ¶12. Indeed, both plans

state that all coal production is likely to come from a small handful of already

operating mines (five mines in Miles City, twelve in Buffalo), and, for Miles City,

BLM even estimated annual production at each mine down to the ton. SOF ¶¶14-

16.

      BLM has previously determined that it can estimate the amount of

greenhouse gases indirectly emitted by use of Powder River Basin coal on the basis

of the amount of coal delivered to market and a “conversion factor” expressing the

known amount of CO2 emitted from burning a ton of coal. SOF ¶48.10 BLM could

similarly estimate greenhouse gas emissions from downstream use of oil and gas

based, principally, on expected levels of production, as explained in a report

submitted by Conservation Groups. SOF ¶53. BLM offered no criticism of that

report’s methodology. Because these methods of analysis are available, BLM

“cannot—in the same FEIS—provide detailed estimates of the amount of coal to

be mined and simultaneously claim that it would be too speculative to estimate

[end use] emissions.” High Country, 52 F.Supp.3d. at 1196-97.

      Thus, in the Miles City EIS, BLM failed to support its assertion that it could

not reasonably foresee emissions resulting from downstream fossil fuel use, and in


10
  Conservation Groups also directed BLM to a U.S. Energy Information
Administration webpage listing “emission coefficients” that BLM could similarly
use to calculate CO2 (carbon dioxide) emissions from coal combustion. SOF ¶50.

                                                                                   19
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 29 of 45



fact, the record squarely refutes this assertion. BLM’s ability to perform this

analysis was further demonstrated by the recent draft EIS it prepared for the

Uncompahgre Resource Management Plan, which provides a table showing the

“maximum annual indirect greenhouse gas emissions” for coal, oil, and gas

produced in the planning area, based on annual production levels and U.S. Energy

Information Administration conversion factors.11 BLM’s Uncompahgre analysis

used the type of methods and inputs that Citizen Groups urged BLM to use here,

yet BLM failed to articulate a reasonable basis for failing to conduct a similar

greenhouse gas analysis for these plans.

      Similarly, the Buffalo EIS provided no justification for omitting an analysis

of indirect emissions. An internal email from Wyoming BLM staff acknowledges

that emissions from the end use of extracted fossil fuels fall within NEPA’s

purview, but wrongly contends that analysis of these emissions can be postponed

to the leasing stage. See SOF ¶45. Thus, BLM appears to have silently adopted an

informal position of categorically deferring analysis of downstream emissions.

However, NEPA mandates that agencies “shall integrate the NEPA process with

other planning at the earliest possible time to insure that planning and decisions

11
  BLM, Uncompahgre Field Office, Draft Resource Management Plan and
Environmental Impact Statement at 4-42, T. 4-11 (May 2016), available at
https://eplanning.blm.gov/epl-front-
office/projects/lup/62103/82336/97334/Vol_II_UFO-DRMP-2016_web.pdf
(Exhibit 2).


                                                                                     20
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 30 of 45



reflect environmental values.” 40 C.F.R. § 1501.2. “If it is reasonably possible to

analyze the environmental consequences in an EIS for an RMP [Resource

Management Plan], the agency is required to perform that analysis.” Kern, 284

F.3d at 1072 (emphasis added). Analysis may be deferred only when it is

impossible to prepare it until a later stage. Id.; accord N. Alaska Envtl. Ctr. v.

Kempthorne, 457 F.3d 969, 973 (9th Cir. 2006) (approving deferral of analysis of

certain site-specific impacts). As the Ninth Circuit has explained:

      If an agency were able to defer analysis of discussion of environmental
      consequences in an RMP, based on a promise to perform a comparable
      analysis in connection with later site-specific projects, no environmental
      consequences would ever need to be addressed in an EIS at the RMP level if
      comparable consequences might arise, but on a smaller scale, from a later
      site-specific action proposed pursuant to the RMP.

Kern v. BLM, 284 F.3d at 1072. BLM had at its disposal all of the information it

needed to analyze the downstream emissions resulting from plan implementation,

and thus NEPA forbids BLM from deferring that analysis until a later stage. Cf. 40

C.F.R. § 1502.22.


             2.   BLM Failed To Take a Hard Look at Cumulative Climate
                  Impacts of BLM’s Fossil Fuel Management.

      BLM failed to address the cumulative impacts on the climate of the

foreseeable fossil fuel development on BLM-managed land. NEPA requires a

detailed analysis of “cumulative” effects, which are “the incremental impact of the

action when added to other past, present, and reasonably foreseeable future


                                                                                     21
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 31 of 45



actions.” 40 C.F.R. §§ 1508.7, 1508.25(c). Analysis of cumulative impacts protects

against “the tyranny of small decisions,” Kern, 284 F.3d at 1078, by confronting

the possibility that agency action may contribute to cumulatively significant effects

even where impacts appear insignificant in isolation. 40 C.F.R. §§ 1508.7,

1508.27(b)(2). Here, BLM violated this requirement by failing to consider the

cumulative, incremental contribution of greenhouse gas emissions from the Miles

City and Buffalo plans, respectively, added to other past, present and reasonably

foreseeable BLM-managed fossil-fuel extraction emissions.

      The scope of the cumulative impacts inquiry must include other projects

potentially impacting the same resources. For example, the Ninth Circuit has

indicated that, in reviewing a land exchange that would increase air pollution in the

Las Vegas Valley, BLM must consider the cumulative impact of all other

foreseeable land exchanges in that region. Hall v. Norton, 266 F.3d 969, 978 (9th

Cir. 2001). Similarly, in reviewing a timber sale that risked spreading a fungus

harmful to cedars in Oregon, BLM violated NEPA by confining its analysis to the

boundaries of the proposed sale; as the Ninth Circuit explained, NEPA required

analysis of the cumulative impact of foreseeable sales throughout the region. Kern

v. BLM, 284 F.3d at 1078; see also Blue Mountains Biodiversity Project v.

Blackwood, 161 F.3d 1208, 1215 (9th Cir. 1998) (Forest Service, in approving




                                                                                    22
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 32 of 45



timber sale for salvage after fire, required to consider cumulative impact of

foreseeable sales across 140-square mile burned area).

      “The impact of greenhouse gas emissions on climate change is precisely the

kind of cumulative impacts analysis that NEPA requires agencies to conduct.” Ctr.

for Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d

1172,1217 (9th Cir. 2008). BLM acknowledged that “impacts on climate change

are influenced by [GHG] emission sources from around the globe.” BUF:6-2093;

see also MC:7-3078. Despite this acknowledgment, BLM argued here that the

impacts of the plan revisions were individually insignificant when measured

against cumulative emissions, while failing to analyze the cumulative impacts of

plan implementation on climate change.

      Specifically, BLM argued that “emissions under the highest-emitting [Miles

City] alternative would be a small percentage of Montana, United States, and

global emissions,” MC:7-3078, and that “BLM can only reasonably quantify and

disclose GHG emissions for the alternatives and put that estimation into the

context as far as a percentage of the climate change that is occurring,” BUF:6-

4102. This conclusion is unsupported and contains no discussion of the cumulative

impact of BLM’s management of fossil fuel extraction across the eight resource

management plans simultaneously revised in the Rocky Mountain Region, or

across the 700 million acres of mineral estate that BLM manages. Instead, BLM


                                                                                   23
       Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 33 of 45



looked only at the climate impacts of each individual plan in isolation, without any

discussion of those impacts when added to greenhouse gas emissions from the

other areas that BLM manages. See 40 C.F.R. § 1508.27(b)(7) (requiring

cumulative analysis even for impacts that are “individually insignificant but

cumulatively significant”). Without considering “the combined effects” of such

management, BLM cannot make an informed decision “whether, or how, to alter”

the plans “to lessen cumulative impacts.” Muckleshoot Indian Tribe, 177 F.3d at

810.

       At a minimum, BLM had the available data to quantify and analyze the

predicted cumulative emissions under the eight plans simultaneously revised in the

Rocky Mountain Region. RMR:1134-7951, -7967 (Record of Decision). Together,

these revised plans span nearly 10 million acres. Id. BLM entirely ignored this

broad perspective; indeed, BLM did not even address the cumulative impact of the

Buffalo and Miles City plans, under which BLM expects that industry will mine

approximately 11 billion tons of coal, SOF ¶17, and drill approximately 18,000

producing oil and gas wells, SOF ¶¶18-19. BLM’s refusal to provide a cumulative

impacts analysis that included BLM’s foreseeable management of fossil fuels

outside the boundaries of individual planning areas violated NEPA.

       Moreover, BLM cannot simply dismiss such cumulative effects analysis as

“[i]mpractical.” BUF:9-5012 (Protest Resolution). The record squarely contradicts


                                                                                  24
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 34 of 45



BLM’s assertion that “insufficient data exist[s] to accurately quantify” “emissions

from activities outside the [individual] planning area[s].” SOF ¶44. Conservation

Groups explained that BLM had the tools available to evaluate the cumulative

emissions resulting from fossil fuel development across the lands BLM manages.

SOF ¶¶53-54. And BLM had available information about expected greenhouse gas

emissions from each of the simultaneously revised plans that it could have used to

quantify cumulative emissions.

      This analysis would have enabled BLM take a hard look at the significance

and severity of the cumulative emissions coupled with plan implementation. This

is precisely the look that NEPA requires at the planning stage when the agency is

assessing how much of the public’s land to make available to coal, as well as to oil

and gas leasing.

      One of the measuring standards available to BLM for analyzing the

magnitude and severity of BLM-managed fossil fuel emissions is to apply those

emissions to the remaining global carbon budget. A “carbon budget” offers a cap

on the remaining stock of greenhouse gases that can be emitted while still keeping

global average temperature rise below scientifically researched warming

thresholds12—beyond which climate change impacts may result in severe and


12
  The Paris Agreement states that global warming must be held “well below 2°C
above pre-industrial levels” with a goal to “limit the temperature increase to
1.5°C.” U.N. Framework Convention on Climate Change, Conference of the

                                                                                    25
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 35 of 45



irreparable harm to the biosphere and humanity. SOF ¶¶57-59. The record shows

that the remaining global carbon budget to stay under the 2°C warming threshold is

approximately 800 gigatons of carbon dioxide equivalent (“GtCO2e”), while fossil

fuels companies and state actors hold fossil fuel reserves consistent with

approximately 2,795 GtCO2e of emissions. SOF ¶¶60-61.

      A second measure available to analyze cumulative impacts to climate was

the social cost of carbon protocol (“protocol”), which BLM failed to utilize. See 40

C.F.R. § 1508.8(b), 1502.16(a)-(b) (requiring BLM to disclose the “ecological[,]

. . . economic, [and] social” impacts of its actions, including an assessment the

“significance” of the impacts). The protocol is an estimate of the global economic

harm of carbon dioxide emissions, expressed as a range of dollar values. SOF ¶¶

62-64. Critically, the protocol not only contextualizes costs associated with climate

change, but can also be used as a proxy for understanding climate impacts and to

compare alternatives. BLM does not assert that the social cost of fossil fuel

development is $0, but “by deciding not to quantify the costs at all, the agencies

effectively zeroed out the costs in its quantitative analysis.” High Country, 52

F.Supp.3d at 1192; see also CBD, 538 F.3d at 1200 (noting that while there is a

range potential social cost figures, “the value of carbon emissions reduction is

Parties, Adoption of the Paris Agreement, Art. 2, U.N. Doc. FCCC/CP/2015/L.9
(Dec. 12, 2015), available at
http://unfccc.int/files/essential_background/convention/application/pdf/english_par
is_agreement.pdf (Exhibit 3).

                                                                                     26
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 36 of 45



certainly not zero.”). BLM’s failure to apply available tools that could be utilized

to analyze the cumulative significance and severity of planning area emissions and

associated climate implications deprived the public of important information on the

cumulative greenhouse gas emissions and true climate implications of plan

implementation. See ONDA, 625 F.3d at 1099-100 (requiring agencies to “take a

‘hard look’ at how the choices before them affect the environment, and then to

place their data and conclusions before the public”).

             3.   BLM Understated the Impacts of Methane Emissions

      BLM estimated that the Buffalo and Miles City plans would lead to 500,000

and 3,000 tons per year of methane emissions, respectively. SOF ¶65. BLM

understated the impact of these emissions by arbitrarily using an outdated estimate

of methane’s global warming potential (“GWP”)—the amount of warming caused

by each ton of methane. Methane is a much more potent greenhouse gas than

carbon dioxide. SOF ¶66. A GWP is used to translate a ton of methane into

“carbon dioxide equivalent,” or “CO2e.” SOF ¶67.That is, methane’s GWP

estimates how many tons of carbon dioxide would be needed to produce the same

amount of global warming as a single ton of methane. Id. In both the Miles City

and Buffalo plans, BLM used a methane GWP of 21, purportedly reflecting

methane’s impact over 100-year timeframes. SOF ¶69(b), 71. This estimate, which

dates back to 1996, had been repeatedly superseded; more recent studies estimate



                                                                                   27
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 37 of 45



that methane’s impact on the climate is 20 to 70 percent higher. SOF ¶69. By using

outdated science, BLM arbitrarily and drastically underestimated the impact of the

methane emissions that would occur under the plans. In addition, BLM unlawfully

considered only the 100-year time horizon for emissions, giving short shrift to

near-term impacts—e.g., warming that will occur during the 20-year planning

periods.

      NEPA requires BLM to ensure the “scientific integrity[] of the discussions

and analyses in [EISs].” 40 C.F.R. § 1502.24, accord 40 C.F.R. § 1500.1(b)

(requiring “accurate scientific analysis”). BLM therefore requires “[u]se [of] the

best available science to support NEPA analyses.” BLM NEPA Handbook H-

1790-1 at 55, BUF:227-22719; see MC:8-4069. An agency violates NEPA where

its analysis is based on a factual inaccuracy. Oregon Nat. Desert Ass’n v. Jewell,

840 F.3d 562, 570 (9th Cir. 2016).

      Nowhere here did BLM argue that the GWP estimate of 21 represented the

“best available science.” Nor could BLM have done so. This estimate was derived

from the 1996 Second Assessment Report of the Intergovernmental Panel on

Climate Change (“IPCC”). SOF ¶73(a). The IPCC is a multinational scientific

body that provides peer-reviewed assessments of the overarching conclusions

about the state of climate science. SOF ¶69(a). At all times relevant here, the IPCC

and EPA agreed that the 1996 assessment sorely understated methane’s actual


                                                                                     28
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 38 of 45



impact. Notably, the IPCC adopted a 100-year GWP that was twenty percent

higher in 2007, six years before the draft EISs were released, SOF ¶69(c), and

IPCC further increased its estimate in September 2013, more than 18 months

before the final EISs were released. SOF ¶69(e).

      While both the Miles City and Buffalo EISs attribute the GWP of 21 to EPA,

BUF:6-2091, MC:7-2712, at the time the final EISs were published, EPA was not

using this value—and even before then, EPA recognized that this value was not the

best available science. The Miles City EIS states that this is the value “used …

under 40 Code of Regulations Part 98 as of November 1, 2013.” MC:7-2712. As

BLM recognized, EPA had proposed to update that regulation to use a higher value

before even the draft Miles City and Buffalo EISs was published, id.; as of

November 30, 2013, that rule adopted IPCC’s 2007 estimate, a methane GWP of

25. 78 Fed. Reg. 71,904, 71,911 (Nov. 29, 2013). Moreover, EPA has consistently

explained that the most recent IPCC reports reflect the best available science. SOF

¶73(c)-(d). The record therefore refutes BLM’s statement that the GWP of 21 is

“the EPA GWP[],” Buf:6-2091, and no EPA document supports the conclusion

that at the time the EISs were developed, using that estimate would provide

“accurate scientific analysis.” 40 C.F.R. § 1500.1(b).

      BLM defends its improper use of an incorrect GWP as necessary to “allow[]

for consistent comparisons with state and national GHG emission inventories.”


                                                                                   29
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 39 of 45



MC:7-2712, see also MC:7-3078 (juxtaposing Miles City plan emissions with

inventories of all Montana, U.S., and global emission), BUF:6-2093 (juxtaposing

Buffalo emissions with Wyoming emissions). NEPA’s central command is for

agencies to analyze and disclose the effects of their proposed actions. 40 C.F.R. §

1502.1. BLM must use the best available science to evaluate the impact of

foreseeable methane emissions. BLM cannot omit this honest evaluation, and

present an analysis that—according to the scientific consensus—understates

impacts, simply to facilitate comparison to other emission inventories that also

understate impacts. See Buf:1660-98326 (EPA comment that “a comparison of

planning area emissions to state and global emissions does not provide meaningful

information for a planning level analysis.”), MC:316-13994 (EPA comment that

the Miles City EIS “compares the GHG emissions to state, national and global

emissions; we believe this approach does not provide meaningful information for a

planning level analysis.”). Moreover, using an accurate GWP estimate would not

preclude comparison with existing inventories. In particular, both EISs cite EPA

estimates of nationwide emissions, see SOF ¶74; those EPA documents provide

calculations of nationwide greenhouse gas emissions that use the most recent IPCC

GWP estimates, even when these inventories also provide alternate calculations

using older estimates. SOF ¶74.




                                                                                   30
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 40 of 45



      BLM separately violated NEPA by failing to calculate methane’s 20-year

GWP and, instead, relying exclusively on a 100-year timeframe. NEPA requires

analysis of methane’s near-term impact. 40 C.F.R. § 1508.27(a). Methane is much

more potent than carbon dioxide and persists in the atmosphere for a much shorter

period of time. SOF ¶68. The IPCC’s calculations of methane’s GWP account for

this changing capacity to warm the atmosphere over time, and use both 100-year

and 20-year time scales to measure methane’s impact. In September 2013, IPCC

adopted an estimate of the 20-year GWP for methane of 87. BUF:1996-130451.13

BLM must analyze climate impacts in the near-term if the agency is to consider

measures to avoid significant global warming. A near-term analysis is also

consistent with the 20-year planning horizon for the plans. SOF ¶12. BLM’s

omission of a near-term analysis of the methane emissions generated over the life

of the plan is arbitrary and capricious because it ignored important aspects of the

issue of global warming and failed to articulate the reason why it omitted this

important information, contrary to the evidence it had before it at the time it made

its decision.

      The most recent IPCC estimates of the GWP for methane from fossil fuels

are, even on the 100-year timeframe, 40 to 70% higher than the values used by

BLM. SOF ¶69. BLM’s decision to use outdated science was arbitrary and led

13
  Citing to IPCC, Contribution of Working Group I to the Fifth Assessment
Report: The Physical Science Basis, at 714 (Table 8.7) (Sept. 2013) (Exhibit 4).

                                                                                      31
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 41 of 45



BLM to drastically understate the impact of anticipated methane emissions.

      C.     BLM Failed to Consider Cumulative Impacts on Air Quality.

       In the Miles City and Buffalo plans, BLM violated NEPA by failing to

analyze the combined air quality impacts of coal, oil and gas development on

public health and on non-health related values, such as visibility and vegetation.

BLM also failed to analyze the impacts from non-BLM emission sources in the

region, including the largest coal-fired power plant in the region.

      First, BLM failed to analyze the impacts of air emissions that BLM admits

harms air quality. BLM acknowledged that emissions from coal mining and fluid

mineral development together represent the largest air emissions sources for each

of the planning areas. SOF ¶75. Yet BLM failed to conduct any meaningful

cumulative impact analysis of these harmful emissions, which are particularly

important to consider at the planning level, when BLM has the opportunity to take

a region-wide look at projected impacts. In the Miles City EIS, BLM includes only

a cursory and conclusory paragraph for each alternative that notes that “cumulative

pollutant concentrations are expected to be less than the NAAQS [National

Ambient Air Quality Standards under the Clean Air Act].” SOF ¶76. Similarly, in

the Buffalo EIS, BLM notes that most pollutant concentrations are expected to be

less than the NAAQS, except that ozone concentrations will become an important




                                                                                     32
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 42 of 45



issue in the planning area if EPA lowers the NAAQS for ozone—an outcome that

occurred just months after the Buffalo FEIS was published. SOF ¶¶76-77.

      BLM’s cursory assessments do not satisfy NEPA’s hard look mandate. BLM

improperly disregarded impacts that occur at or below the NAAQS. For example,

BLM ignored the best science that shows that children, asthmatics, and even

healthy adults exercising or working outdoors suffer impacts from ozone at the

level of the NAAQS that was in effect when the EISs were published. SOF ¶78.

Moreover, BLM failed to address any non-health related air quality impacts, such

as impacts to visibility and vegetation. SOF ¶79.

      Second, BLM failed to analyze the cumulative impacts of plan

implementation along with existing regional air pollution sources such as coal-

fired power plants. Although BLM acknowledged that coal-fired power plants

were relevant to its cumulative impact analyses for air quality, MC:7-3894, BLM

nonetheless excluded existing sources from its cumulative effects analysis, such as

Colstrip, a large power plant located within the Miles City Planning Area and

directly north of the Buffalo Planning Area. MC:816-33704; BUF:1407-91717.

Colstrip causes significant air pollution, including emissions of sulfur dioxide that

may exceed the NAAQS. MC:816-33704 to -33705. By omitting significant

sources of regional air emissions, BLM underestimated the cumulative impact of

plan implementation on regional air quality in violation of NEPA.


                                                                                   33
     Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 43 of 45



                                  CONCLUSION

      For the foregoing reasons, Conservation Groups respectfully request that

the Court declare BLM’s approval of the Buffalo and Miles City plans and EISs

arbitrary and capricious.

      Respectfully submitted this 14th day of July, 2017.


      /s/ Laura H. King
      Laura H. King (MT Bar No. 13574)
      Shiloh S. Hernandez (MT Bar No. 9970)
      Western Environmental Law Center
      103 Reeder’s Alley
      Helena, Montana 59601
      Ph: (406) 204-4852
      king@westernlaw.org
      hernandez@westernlaw.org

      Kyle Tisdel, pro hac vice (CO Bar No. 42098)
      Western Environmental Law Center
      208 Paseo del Pueblo Sur #602
      Taos, New Mexico 87571
      Ph: (575) 613-8050
      tisdel@westernlaw.org

      Counsel for Western Organization of
      Resource Councils, Montana
      Environmental Information Center,
      Powder River Basin Resource
      Council, and Northern Plains
      Resource Council

      Nathaniel Shoaff, pro hac vice (CA Bar No. 256641)
      Sierra Club
      2101 Webster Street, Suite 1300
      Oakland, CA 94612
      Ph: (415) 977-5610


                                                                                 34
Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 44 of 45



nathaniel.shoaff@sierraclub.org

Counsel for Sierra Club

Sharon Buccino, pro hac vice (DC Bar No. 432073)
Alison L. Kelly, pro hac vice (DC Bar No. 1003510)
Natural Resources Defense Council
1152 15th Street, NW
Suite 300
Washington, D.C. 20005
Ph: (202) 289-6868
sbuccino@nrdc.org
akelly@nrdc.org

Counsel for Natural Resources
Defense Council




                                                                    35
      Case 4:16-cv-00021-BMM Document 72-1 Filed 07/14/17 Page 45 of 45



                         CERTIFICATE OF SERVICE


      I, the undersigned counsel of record, hereby certify that on this 14th day of

July, 2017, I filed a copy of this document electronically through the CM/ECF

system, which caused all parties or counsel to be served by electronic means as

more fully reflected on the Notice of Electronic Filing.

                                              /s/ Laura King
                                              Laura King

                      CERTIFICATE OF COMPLIANCE

      I, the undersigned counsel of record, hereby certify that this brief is double-

spaced, has a typeface of 14 points, and contains 7,862 words, excluding caption,

certificates of service and compliance, table of contents and authorities, and exhibit

index. I relied on Microsoft Word to obtain the word count.

                                              /s/ Laura King
                                              Laura King




                                                                                   36
